
	OSCN Found Document:IN RE: AMENDMENTS TO RULES 7.2 AND 7.7(b)

	
				
            
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				IN RE: AMENDMENTS TO RULES 7.2 AND 7.7(b)2014 OK 82Case Number: SCBD-6177Decided: 09/30/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 82, __ P.3d __
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 
In Re: Amendments to Rules 7.2 and 7.7(b) of the Rules Governing Disciplinary Proceedings
CORRECTED ORDER
Rule 7.2 of the Rules Governing Disciplinary Proceedings, 5 O.S.2011, ch. 1, app. 1-A, is amended as follows: The clerk of any court within this State in which a lawyer is convicted or as to whom proceedings are deferred shall transmit certified copies of the Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and judgment and sentence of conviction to the Chief Justice of the Supreme Court and to the General Counsel of the Oklahoma Bar Association within five (5) days after said conviction. The documents shall also be furnished to the Chief Justice by the General Counsel within five (5) days of receiving such documents. Such documents, whether from this jurisdiction or any other jurisdiction shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules.See State ex rel. Okla. Bar Ass'n v. Zannotti, 2014 OK 25, ¶ 22, 330 P.3d 11, 16.
Rule 7.7(b) of the Rules Governing Disciplinary Proceedings, 5 O.S.2011, ch. 1, app. 1-A, is amended as follows:(b) When a lawyer has been adjudged guilty of misconduct in a disciplinary proceeding, except contempt proceedings, by the highest court of another State or by a Federal Court, the General Counsel of the Oklahoma Bar Association shall cause to be transmitted to the Chief Justice a certified copy of such adjudication within five (5) days of receiving such documents. The Chief Justice shall direct the lawyer to appear before the Supreme Court at a time certain, not less than ten (10) days after mailing of notice, and show cause, if any he/she has, why he/she should not be disciplined. The documents shall constitute the charge and shall be prima facie evidence the lawyer committed the acts therein described. The lawyer may submit a certified copy of the transcript of the evidence taken in the trial tribunal of the other jurisdiction to support his/her claim that the finding therein was not supported by the evidence or that it does not furnish sufficient grounds for discipline in Oklahoma. The lawyer may also submit, in the interest of explaining his/her conduct or by way of mitigating the discipline which may be imposed upon him/her, a brief and/or any evidence tending to mitigate the severity of discipline. The General Counsel may respond by submission of a brief and/or any evidence supporting a recommendation of discipline. DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 29th day of September, 2014.
/S/CHIEF JUSTICE
CONCUR: COLBERT, C.J.; REIF, V.C.J.; and KAUGER, WATT and TAYLOR, JJ. 
DISSENT: WINCHESTER, EDMONDSON, COMBS and GURICH, JJ. 




	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	Title 5. Attorneys and the State Bar&nbsp;CiteNameLevel&nbsp;5 O.S. Sec 7.2, Transmittal of Record Relating to ConvictionCited&nbsp;5 O.S. Sec 7.7, Disciplinary Action in Other Jurisdictions, As Basis for DisciplineCitedCitationizer: Table of AuthorityCite
		Name
		Level
	None Found.


				
					
					
				
             
         
        
            

		